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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:14CR00191-15 JLH

LOUIS MICHAEL TICHELI                                                                 DEFENDANT

                                              ORDER

       On July 29, 2016, the Court held the pending motion to revoke in abeyance to allow the

parties to finalize a release plan for Louis Michael Ticheli. The parties have informed the Court that

plans have been finalized and that they are now ready to resume the hearing.

       IT IS HEREBY ORDERED that the hearing on the motion to revoke supervised release is

hereby scheduled to resume on WEDNESDAY, SEPTEMBER 28, 2016, at 10:00 A.M., in

Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol Avenue,

Little Rock, Arkansas. Document #751.

       IT IS SO ORDERED this 23rd day of September, 2016.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
